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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

TAHEEN HAYES,
                                  Plaintiff,

      v.                                                      9:16-CV-1368
                                                              (TJM/CFH)

T. DAHKLE, et al.,

                           Defendants.
___________________________________________

Thomas J. McAvoy,
Sr. U.S. District Judge



                                  DECISION & ORDER

      This pro se action, brought pursuant to 42 U.S.C. § 1983, alleges that Defendants

violated Plaintiff’s First and Eighth Amendment rights while he was incarcerated at

Coxsackie (New York) Correctional Facility. The Court referred the action to the Hon.

Christian F. Hummel, United States Magistrate Judge, for a Report-Recommendation

pursuant to 28 U.S.C. § 636(b) and Local Rule 72.3(c).

      The Report-Recommendation, dated December 11, 2018, recommends that the

Court grant the Defendants’ motion for summary judgment. See dkt. # 71. Magistrate

Judge Hummel finds that the Defendant failed to exhaust his administrative remedies on

all claims except an Eighth Amendment sexual assault claim against Defendant C.O.

Dahkle, and recommends that the Court dismiss Plaintiff’s First Amendment retaliation

claims, Eighth Amendment excessive force claims, and supervisory liability claims.


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Magistrate Judge Hummel also recommends that the Court dismiss Plaintiff’s Eighth

Amendment claim against Defendant Dahkle on the merits.

       Plaintiff filed timely objections to the Report-Recommendation. See dkt. # 72.

When objections to a magistrate judge’s Report-Recommendation are lodged, the Court

makes a “de novo determination of those portions of the report or specified proposed

findings or recommendations to which objection is made.” See 28 U.S.C. § 636(b)(1).

After such a review, the Court may “accept, reject, or modify, in whole or in part, the

findings or recommendations made by the magistrate judge. The judge may also receive

further evidence or recommit the matter to the magistrate judge with instructions.” Id.

       Having reviewed the record de novo and having considered the issues raised in the

Plaintiffs’ objections, this Court has determined to accept and adopt the recommendation

of Magistrate Judge Hummel for the reasons stated in the Report-Recommendation. The

Court finds that Plaintiff failed to exhaust his administrative remedies with respect to all

claims except his Eighth Amendment claim against Defendant Dahkle, and that no

reasonable juror could find for Plaintiff on that claim.

       It is therefore ORDERED that Plaintiff’s objections to the Report-Recommendation

of Magistrate Judge Hummel, dkt. # 72, are hereby OVERRULED. The Report-

Recommendation, dkt. # 71 is hereby ACCEPTED and ADOPTED, and the Defendants’

Motion for Summary Judgment; dkt. # 58 is hereby GRANTED. The Clerk of Court is

directed to CLOSE the case.




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    IT IS SO ORDERED.

    Dated: February 19, 2019




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